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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MISSOURI
                           EASTERN DIVISION


UNITED STATES OF AMERICA,                    )
                                             )
                       Plaintiff,            )
                                             )
            vs.                              )     No. 4:07CR656-DJS
                                             )
LANCE COCKRELL,                              )
                                             )
                       Defendant.            )


                                     ORDER


            On July 17, 2008, a jury found defendant Lance Cockrell

guilty of conspiring to distribute, and to possess with intent to

distribute, cocaine and cocaine base, in violation of 21 U.S.C.

§841(a)(1) and §846.       At sentencing on October 17, 2008, the Court

determined the advisory Sentencing Guidelines imprisonment range to

be 188 to 235 months, based on a Total Offense Level of 36 and a

Criminal History Category of I.        Based on the quantity of cocaine

base for which the jury found Cockrell to be accountable – in

excess of 50 grams – his conviction carried a statutory mandatory

minimum term of 120 months’ imprisonment.

            The Court granted defendant’s motion for a downward

variance from the Guidelines range, based on agreement of the

parties and in view of Cockrell’s lack of criminal history, his

degree of relative culpability in the conspiracy, and the sentences

of   his   co-defendants.      The   Court       sentenced    Cockrell     to   the
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statutory minimum of 120 months.                 Direct appeal was taken and

remains pending before the United States Court of Appeals for the

Eighth Circuit.

            Now before the Court is Cockrell’s pro se motion for

reduction of sentence. Cockrell invokes cases in which he contends

a 1-to-1 crack to powder cocaine ratio was found to be appropriate

and was applied in sentencing, and “demands that he receive the 2-

Level retroactive reduction past [sic] by the Sentencing Commission

and went into effect on March 3, 2008, and the 1 to 1 Ratio from

‘crack’ to ‘powder cocaine’ which was amended to amendment 706 on

January 24, 2008[.]”            Motion [Doc. #447], p.3.           Cockrell having

been sentenced on October 17, 2008, he was in fact sentenced after

the November 1, 2007 effective date of amendment 706 and its 2-

level reduction of the base offense levels for quantities of crack

cocaine.    The crack cocaine Sentencing Guidelines amendment to

which Cockrell refers was applied in his case.

            Furthermore, and of even greater significance, the Court

varied downward from the advisory Guidelines imprisonment range and

sentenced   Cockrell       to    the    mandatory   minimum    sentence     set   by

statute.      The   statutory          minimum   sentence     is    impervious    to

amendments to the Sentencing Guidelines and to considerations under

18 U.S.C. §3553(a), to which Cockrell also alludes.                   For all the

foregoing reasons, no reduction of Cockrell’s sentence is shown to

be warranted, appropriate, or even possible.


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           Accordingly,

           IT IS HEREBY ORDERED that defendant Lance Cockrell’s

motion for reduction of sentence [Doc. #447] is denied.


Dated this    9th   day of December, 2009.



                                        /s/ Donald J. Stohr
                                       UNITED STATES DISTRICT JUDGE




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